Case: 1:10-cv-00261 Document #: 3-2 Filed: 01/14/10 Page 1 of 4 PagelD #:6

State of Hlinois )
l ) Ss . Our File: 08-178

coun of Cook )

| IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
| COUNTY DEPARTMENT, LAW DIVISION :

VICTORIA LABANAUSKAITE, )
)
Plaintiff, )
)
v. ) No.
! ) Amount Claimed: In excess of $100,000.00
TYRONE L. STEWART and )
PREMIER TRANSPORTATION, )-
)
Defendants. }
i COMPLAINT AT LAW

 

NOW COMES the Plaintiff, VICTORIA LABANAUSKAITE, by ang through her,

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attorneys, CHEPOV & SCOTT, LLC., and in complaining against the Defend ants, the Pen i

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states as follows: =| a BO

 

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sS)oocnipit om:
l. At all relevant times, Interstate 94 was a public roadway runing horthiand south
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in the City of Northfield, County of Cook, State of Hlinois. 2 z =

2. On or about May 19, 2008, at approximately 2:15 p.m., TYRONE L. STEWART,
operated, managed, maintained and controlled a motor vehicle traveling southbound on I-94,

south of Lake Cook Road.

3. . Onsaid date, the motor vehicle operated by TYRONE L. STEWART was owned
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and/or controlled by PREMIER TRANSPORTATION.

4. On said date, and at the time of the accident, TYRONE L. STEWART was an

employee of PREMIER TRANSPORTATION.

 

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| 5. On said date, and at the time of the accident, TYRONE L. STEWART was acting

|
as the agent of PREMIER TRANSPORTATION and within the scope of his employment.

; 6. On said date, and at the time of the accident, VICTORIA LABANAUSKAITE

owned, operated, managed, maintained and controlled a motor vehicle traveling southbound on

1-94,

|
not to expose the plaintiff to an unreasonable risk of injury or harm.

8. At the time of the accident, the vehicle operated by TYRONE L. STEWART

struck the rear side of the Plaintiff's vehicle.

9, The Defendant was negligent in one or more of the following respects:

| a) Negligently and carelessly failed to keep a proper lookout for
ro other vehicles upon said roadway;

+b) Negligently and carelessly failed to keep said vehicle under
sufficient and proper control;

' c) Proceeded at a speed which was greater than reasonable with

| regard to the traffic conditions and the use of the roadway and

| which endangered the safety of person or property, in violation of
625 ILCS 5/11-601(a);

d) — Failed to decrease speed to avoid colliding with another vehicle
when on a roadway, in violation of 625 ILCS 5/11-601(a);

e) Followed more closely than reasonable and prudent, in violation of
625 ILCS 5/11-710;

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10. | Asadirect and proximate result of one or more of these negligent acts and or

omission of the Defendant, VICTORIA LABANAUSKAITE has suffered and will continue to
|

suffer injuries of a personal and pecuniary nature.

7. On said date, TYRONE L. STEWART had a duty to act with reasonable care and
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| WHEREFORE, the Plaintiff, VICTORIA LABANAUSKAITE, demands judgment

against the Defendant, TYRONE L. STEWART, in an amount in excess of ONE HUNDRED
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THOUSAND DOLLARS ($100,000.00), plus costs, and any other relief this Court deems

equitable and just.
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a ALA

t
Daniel P. Scott

CHEPOV & SCOTT, LLC

5440 North Cumberland, Suite 150
Chicago, Illinois 60656

(773) 714-1300

Firm ID: 31021

 

 

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VICTORIA LABANAUSKAITE,
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Plaintiff,

No,
Amount Claimed: In excess of $100,000.00

¥.

TYRONE L. STEWART and
PREMIER TRANSPORTATION,

Defendants.

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ILLINOIS SUPREME COURT RULE 222(b}) AFFIDAVIT
| .
I, Daniel P. Scott, as attorney for the plaintiff, being first duly sworn on oath, depose and
state, that the total money damages sought does exceed $100,000.00.

  

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Further, Affiant sayeth naught.

| Daniel P. Scott

 

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. Verification by Certification

I
Under penalties as provided by law pursuant to Section 1-109 of the Code of Civil Procedure, the
undersigned certifies that the statements set forth in this instrument are true and correct, except
as to matters therein stated to be on information and belief and as to. such matters the
undersigned certifies as aforesaid that he/she verily believes the same to be true.

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CHkpov & SCOTT, LLC

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